Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 1 of 20 PageID 78




                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

CHARLES HURLEY, ex rel,

       Plaintiff,

v.                                                      Case No: 8:18-cv-1304-T-36AAS

MOTIVATIONAL COACHES OF
AMERICA, INC., WENTWORTH
HAMPSHIRE, INC., JULIO AVAEL, an
individual, and CHARITY SAVAGE, an
individual,

       Defendants.


                                RELATED CASE ORDER
                               AND TRACK TWO NOTICE
       It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve

a certification as to whether the instant action should be designated as a similar or

successive case pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the

attached form NOTICE OF PENDENCY OF OTHER ACTIONS. It is

       FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

designated a Track Two case.          All parties must comply with the requirements

established in Local Rule 3.05 for Track Two cases. Counsel and any unrepresented

party shall meet within sixty days after service of the complaint upon any defendant for

the purpose of preparing and filing a Case Management Report. The parties shall utilize

the attached Case Management Report form. Unless otherwise ordered by the Court,

a party may not seek discovery from any source before the meeting. Fed. R. Civ. P. 26
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 2 of 20 PageID 79



(d); Local Rule 3.05(c)(2)(B). Plaintiff is responsible for serving a copy of this notice and

order with attachments upon each party no later than fourteen days after appearance of

the party.

February 19, 2020




Attachments: Notice of Pendency of Other Actions [mandatory form]
             Case Management Report [mandatory form]
             Magistrate Judge Consent / Letter to Counsel
             Magistrate Judge Consent Form / Entire Case
             Magistrate Judge Consent / Specified Motions

Copies to:    All Counsel of Record
              All Pro Se Parties
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 3 of 20 PageID 80




                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

CHARLES HURLEY, ex rel,

         Plaintiff,

v.                                                         Case No: 8:18-cv-1304-T-36AAS

MOTIVATIONAL COACHES OF
AMERICA, INC., WENTWORTH
HAMPSHIRE, INC., JULIO AVAEL, an
individual, and CHARITY SAVAGE, an
individual,

         Defendants.


                       NOTICE OF PENDENCY OF OTHER ACTIONS
         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____ IS               related to pending or closed civil or criminal case(s) previously filed
                       in this Court, or any other Federal or State court, or administrative
                       agency as indicated below:
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________

_____ IS NOT           related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.


Dated:


_____________________________
Counsel of Record or Pro Se Party
   [Address and Telephone]
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 4 of 20 PageID 81
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 5 of 20 PageID 82



                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION

CHARLES HURLEY, ex rel,

         Plaintiff,

v.                                                                       Case No: 8:18-cv-1304-T-36AAS

MOTIVATIONAL COACHES OF
AMERICA, INC., WENTWORTH
HAMPSHIRE, INC., JULIO AVAEL, an
individual, and CHARITY SAVAGE, an
individual,

         Defendants.


 NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final
judgment. The judgment may then be appealed directly to the United States court of appeals like any other
judgment of this court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case,

        Consent to a magistrate judge's authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial
proceedings.

Printed names of parties and attorneys          Signatures of parties or attorneys                 Dates




                                               REFERENCE ORDER
        IT IS ORDERED that this case be referred to a UNITED STATES MAGISTRATE JUDGE for all further
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 6 of 20 PageID 83




         DATE                                                          CHARLENE EDWARDS
HONEYWELL
                                                               UNITED STATES DISTRICT JUDGE

NOTE:   RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION BY
        A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
        Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 7 of 20 PageID 84
                                         UNITED STATES DISTRICT COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION

CHARLES HURLEY, ex rel,

        Plaintiff,

v.                                                            Case No: 8:18-cv-1304-T-36AAS

MOTIVATIONAL COACHES OF AMERICA, INC.,
WENTWORTH HAMPSHIRE, INC., JULIO AVAEL, an
individual, and CHARITY SAVAGE, an individual,

        Defendants.


     NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

         Consent to a magistrate judge's consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each motion
identified below (identify each motion by document number and title).

        MOTION(S)              _____________________________________________

                               _____________________________________________

Printed names of parties and attorneys               Signature of parties or attorneys           Date




                                              REFERENCE ORDER

      IT IS ORDERED:         The motions are referred to the United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. ' 636(c).


___________________                                         __________________________________________
         Date                                                     CHARLENE EDWARDS HONEYWELL
                                                                   UNITED STATES DISTRICT JUDGE
NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF
         JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 8 of 20 PageID 85




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

CHARLES HURLEY, ex rel,

         Plaintiff,

v.                                                    Case No: 8:18-cv-1304-T-36AAS

MOTIVATIONAL COACHES OF
AMERICA, INC., WENTWORTH
HAMPSHIRE, INC., JULIO AVAEL, an
individual, and CHARITY SAVAGE, an
individual,

         Defendants.


                             CASE MANAGEMENT REPORT
         The parties have agreed on the following dates and discovery plan pursuant

to Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):



     DEADLINE OR EVENT                                         AGREED DATE
     Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.
     26(a)(1) as amended effective December 1, 2000)
     [Court recommends 30 days after CMR meeting]
     Certificate of Interested Persons and Corporate
     Disclosure Statement
     [Each party who has not previously filed must file
     immediately]
     Motions to Add Parties or to Amend Pleadings
     [Court recommends 1 - 2 months after CMR meeting]
     Disclosure of Expert Reports
     Plaintiff:
     Defendant:
     [Court recommends 1 - 2 months before discovery
     deadline to allow expert depositions]
     Discovery Deadline
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 9 of 20 PageID 86




  DEADLINE OR EVENT                                              AGREED DATE
  [Court recommends 6 months before trial to allow time
  for dispositive motions to be filed and decided; all
  discovery must be commenced in time to be completed
  before this date]
  Dispositive Motions, Daubert, and Markman Motions
  [Court requires 5 months or more before trial term
  begins]
  Meeting In Person to Prepare Joint Final Pretrial
  Statement
  [14 days before Joint Final Pretrial Statement]
  Joint Final Pretrial Statement (Including a Single Set of
         Jointly-Proposed Jury Instructions and Verdict
         Form (a Word or WordPerfect7 version may be e-
         mailed to the Chambers mailbox), Voir Dire
         Questions, Witness Lists, Exhibit Lists with
         Objections on Approved Form)
  [Court recommends 3 weeks before Final Pretrial
  Conference]
  All Other Motions Including Motions In Limine [Court
  recommends 3 weeks before Final Pre-trial Conference]
  Final Pretrial Conference [Court will set a date that is
  approximately 3 weeks before trial]
  Trial Briefs [Court recommends 2 weeks before Trial]
  Trial Term Begins
  [Local Rule 3.05 (c)(2)(E) sets goal of trial within 2 years
  of filing complaint in all Track Two cases; trial term must
  not be less than 4 months after dispositive motions
  deadline (unless filing of such motions is waived);
  district judge trial terms typically begin on the 1st
  business day of the first full week of each month; trials
  before magistrate judges will be set on a date certain
  after consultation with the parties]
  Estimated Length of Trial [trial days]
  Jury / Non-Jury
  Mediation
  Deadline:

  Mediator:
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 10 of 20 PageID 87




      DEADLINE OR EVENT                                                AGREED DATE
      Address:

      Telephone:

      [Absent arbitration, mediation is mandatory; Court
      recommends either 2 - 3 months after CMR meeting, or
      just after discovery deadline]
      All Parties Consent to Proceed Before Magistrate Judge          Yes____
                                                                       No____

                                                                      Likely to Agree in
                                                                      Future _____



I.        Meeting of Parties in Person

          Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), 1 a meeting was held

in person on ___________________         (date)   at                    (time)   at   (place)   and

was attended by:

                Name                                    Counsel for (if applicable)




II.       Pre-Discovery Initial Disclosures of Core Information

          Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures




                1A  copy of the Local Rules may be viewed at
          http://www.flmd.uscourts.gov.
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 11 of 20 PageID 88



       Fed.R.Civ.P. 26, as amended effective December 1, 2000, provides that these

disclosures are mandatory in Track Two and Track Three cases, except as stipulated by

the parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes

Middle District of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the

mandatory discovery requirements):

       The parties ____ have exchanged ____ agree to exchange (check one)

       information described in Fed.R.Civ.P. 26(a)(1)(A) - (D)

              on                 by (check one)                                (date).

       Below is a description of information disclosed or scheduled for disclosure,

including electronically stored information as further described in Section III below.




III.   Electronic Discovery

       The parties have discussed issues relating to disclosure or discovery of

electronically stored information (AESI@), including Pre-Discovery Initial Disclosures of

Core Information in Section II above, and agree that (check one):

       ___ No party anticipates the disclosure or discovery of ESI in this case;

       ___ One or more of the parties anticipate the disclosure or discovery of ESI in

this case.

If disclosure or discovery of ESI is sought by any party from another party, then the

following issues shall be discussed: 2



              2    See Generally: Rules Advisory Committee Notes to the 2006
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 12 of 20 PageID 89




       A. The form or forms in which ESI should be produced.




       B. Nature and extent of the contemplated ESI disclosure and discovery,

including specification of the topics for such discovery and the time period for which

discovery will be sought

.

       C. Whether the production of metadata is sought for any type of ESI, and if so,

what types of metadata.



       D. The various sources of ESI within a party=s control that should be searched

for ESI, and whether either party has relevant ESI that it contends is not reasonably

accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

and reviewing that information.



       E. The characteristics of the party=s information systems that may contain

relevant ESI, including, where appropriate, the identity of individuals with special

knowledge of a party=s computer systems.



       F. Any issues relating to preservation of discoverable ESI.




       Amendments to Rule 26 (f) and Rule 16.
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 13 of 20 PageID 90



        G. Assertions of privilege or of protection as trial-preparation materials,

including whether the parties can facilitate discovery by agreeing on procedures and, if

appropriate, an Order under the Federal Rules of Evidence Rule 502. If the parties

agree that a protective order is needed, they shall attach a copy of the proposed order

to the Case Management Report. The parties should attempt to agree on protocols

that minimize the risk of waiver. Any protective order shall comply with Local Rule 1.09

and Section IV. F. below on Confidentiality Agreements.



        H. Whether the discovery of ESI should be conducted in phases, limited, or

focused upon particular issues.



Please state if there are any areas of disagreement on these issues and, if so,

summarize the parties’ position on each:

_____________________________________________________________________

______________________________________________________________________

______________________________________________________________________

______________________________________________________________________



If there are disputed issues specified above, or elsewhere in this report, then (check

one):

        ___ One or more of the parties requests that a preliminary pre-trial conference

under Rule 16 be scheduled to discuss these issues and explore possible resolutions.

Although this will be a non-evidentiary hearing, if technical ESI issues are to be
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 14 of 20 PageID 91



addressed, the parties are encouraged to have their information technology experts with

them at the hearing.

       If a preliminary pre-trial conference is requested, a motion shall also be

filed pursuant to Rule 16(a), Fed. R. Civ. P.

       ___ All parties agree that a hearing is not needed at this time because they

expect to be able to promptly resolve these disputes without assistance of the Court.



IV.    Agreed Discovery Plan for Plaintiffs and Defendants

      A.      Certificate of Interested Persons and Corporate Disclosure
Statement

       This Court has previously ordered each party, governmental party, intervenor,

non-party movant, and Rule 69 garnishee to file and serve a Certificate of Interested

Persons and Corporate Disclosure Statement using a mandatory form. No party may

seek discovery from any source before filing and serving a Certificate of Interested

Persons and Corporate Disclosure Statement. A motion, memorandum, response, or

other paper C including emergency motion C is subject to being denied or stricken

unless the filing party has previously filed and served its Certificate of Interested

Persons and Corporate Disclosure Statement. Any party who has not already filed and

served the required certificate is required to do so immediately.

       Every party that has appeared in this action to date has filed and served a

Certificate of Interested Persons and Corporate Disclosure Statement, which remains

current:



_______ Yes
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 15 of 20 PageID 92




_______ No                  Amended Certificate will be filed by ____________________

                            (party) on or before ____________________ (date).

B.     Discovery Not Filed C



       The parties shall not file discovery materials with the Clerk except as provided in

Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

See Local Rule 3.03 (f). The parties further agree as follows:




       C.     Limits on Discovery C



       Absent leave of Court, the parties may take no more than ten depositions per side

(not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule 3.02(b).

Absent leave of Court, the parties may serve no more than twenty-five interrogatories,

including sub-parts. Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent leave of Court or

stipulation of the parties each deposition is limited to one day of seven hours.

Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on discovery.

The Court will consider the parties= agreed dates, deadlines, and other limits in entering

the scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in the above table,

the parties have agreed to further limit discovery as follows:

              1.     Depositions
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 16 of 20 PageID 93




             2.     Interrogatories




             3.     Document Requests




             4.     Requests to Admit




             5.     Supplementation of Discovery




      D.     Discovery Deadline C



      Each party shall timely serve discovery requests so that the rules allow for a

response prior to the discovery deadline. The Court may deny as untimely all motions

to compel filed after the discovery deadline. In addition, the parties agree as follows:
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 17 of 20 PageID 94




       E.     Disclosure of Expert Testimony C



       On or before the dates set forth in the above table for the disclosure of expert

reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert

testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

and other information disclosed in the written expert report disclosed pursuant to this

order. Failure to disclose such information may result in the exclusion of all or part of the

testimony of the expert witness. The parties agree on the following additional matters

pertaining to the disclosure of expert testimony:




       F.     Confidentiality Agreements C

       Whether documents filed in a case may be filed under seal is a separate issue

from whether the parties may agree that produced documents are confidential. The

Court is a public forum, and disfavors motions to file under seal. The Court will permit

the parties to file documents under seal only upon a finding of extraordinary

circumstances and particularized need. See Brown v. Advantage Engineering, Inc., 960

F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir.

1985). A party seeking to file a document under seal must file a motion to file under seal
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 18 of 20 PageID 95



requesting such Court action, together with a memorandum of law in support. The

motion, whether granted or denied, will remain in the public record.



         The parties may reach their own agreement regarding the designation of materials

as Aconfidential.@      There is no need for the Court to endorse the confidentiality

agreement.       The Court discourages unnecessary stipulated motions for a protective

order.        The Court will enforce appropriate stipulated and signed confidentiality

agreements.        See Local Rule 4.15.   Each confidentiality agreement or order shall

provide, or shall be deemed to provide, that Ano party shall file a document under seal

without first having obtained an order granting leave to file under seal on a showing of

particularized need.@ With respect to confidentiality agreements, the parties agree as

follows:




         G.      Other Matters Regarding Discovery C
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 19 of 20 PageID 96



V.      Settlement and Alternative Dispute Resolution.

        A.       Settlement C

                 The parties agree that settlement is

_____        likely ______ unlikely                 (check one)



                 The parties request a settlement conference before a United States

Magistrate Judge.

        yes ______ no________                  likely to request in future _______



        B.       Arbitration C

                 The Local Rules no longer designate cases for automatic arbitration, but the

parties may elect arbitration in any case. Do the parties agree to arbitrate?

                  yes ______           no ______             likely to agree in future ______

_______ Binding                       ________Non-Binding



        C.       Mediation C

                 Absent arbitration or a Court order to the contrary, the parties in every case

will participate in Court-annexed mediation as detailed in Chapter Nine of the Court=s

Local Rules. The parties have agreed on a mediator from the Court=s approved list of

mediators as set forth in the table above, and have agreed to the date stated in the table

above as the last date for mediation. The list of mediators is available from the Clerk,

and is posted on the Court=s web site at http://www.flmd.uscourts.gov.

        D.       Other Alternative Dispute Resolution C
Case 8:18-cv-01304-CEH-AAS Document 16 Filed 02/19/20 Page 20 of 20 PageID 97



       The parties intend to pursue the following other methods of alternative dispute

resolution:




Date: _____________________


Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
Unrepresented Parties.


____________________________________ _________________________________


____________________________________ _________________________________


____________________________________ _________________________________

____________________________________ _________________________________


____________________________________ _________________________________
